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                               9                             UNITED STATES BANKRUPTCY COURT
                              10                              SOUTHERN DISTRICT OF CALIFORNIA

                              11
101 W. Broadway Suite 2000




                                   In re                                   )                 CASE NO. 14-02607-CL7
                              12                                           )
    San Diego, CA 92101
    Gordon & Rees LLP




                                   BURLINGAME CAPITAL PARTNERS II, L.P., a )                 CHAPTER 7
                              13   Delaware Limited Partnership,           )
                                                                           )                 ROBERT D. JUDSON, JRS.’
                              14                                                             PRELIMINARY OPPOSITION TO
                                                                           )
                                                                                             TRUSTEE’S SUPPLEMENTAL
                              15                                           )                 BRIEF RE APPLICATION FOR
                                                                           )                 SECOND ORDER REQUIRING
                              16                                           )                 PRODUCTION OF DOCUMENTS
                                                                           )                 AND APPEARANCE FOR
                              17                                           )                 EXAMINATION BY
                                                                           )                 BURLINGAME CAPITAL
                              18                                           )                 PARTNERS II, L.P.
                                                                           )
                              19                                           )                 Date: April 22, 2005
                                                                           )                 Time: 11:00 a.m.
                              20                                           )                 Place: Dept.: 5
                                                                                             Judge: Hon. Christopher B. Latham
                              21

                              22           Robert D. Judson, Jr. (“Judson”) by an through his attorneys, Gordon & Rees, LLP,
                              23   respectfully submits this Preliminary Opposition to Trustee’s Supplemental Brief Re Application
                              24   for Second Order Requiring Production of Documents and Appearance for Examination by
                              25   Burlingame Capital Partners II, L.P. states as follows:
                              26                                       I.     INTRODUCTION
                              27           This Preliminary Opposition respectfully requests that the Court: (1) deny all relief
                              28   requested in the Supplemental Brief Re Application for Second Order Requiring Production of
                                                                                -1-
                                    ROBERT D. JUDSON, JRS.’ PRELIMINARY OPPOSITION TO TRUSTEE’S SUPPLEMENTAL BRIEF RE
                                   APPLICATION FOR SECOND ORDER REQUIRING PRODUCTION OF DOCUMENTS AND APPEARANCE
                                                 FOR EXAMINATION BY BURLINGAME CAPITAL PATNERS II, L.P.
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                               1   Documents and Appearance for Examination by Burlingame Capital Partners II, L.P.

                               2   (“Supplemental Application”) as it was not previously requested, is based on misrepresentation

                               3   of Judson’s testimony and would deny Judson due process, or, in the alternative, (2) hold further

                               4   briefing and determination of the Supplemental Application in abeyance pending determination

                               5   of Judson’s Motion to Disqualify Allen Matkins Leck Gamble Mallory & Natsis LLP as Counsel

                               6   for Chapter 7 Trustee (“Disqualification Motion”). Judson files this Preliminary Opposition in

                               7   advance of tomorrow’s hearing but reserves his right to further object to the Supplemental

                               8   Application to a later date.

                               9                                  II.   PRELIMINARY OPPOSITION
                              10          This Preliminary Opposition requests this Court deny the Supplemental Application in its

                              11   entirety as procedurally improper and factually baseless. Chapter 7 Trustee James L. Kennedy’s
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                              12   (“Trustee”) through his counsel Allen Matkins Leck Gamble Mallory & Natsis LLP (“Allen
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    Gordon & Rees LLP




                              13   Matkins”) alleges “intentional and willful destruction of evidence” by Judson. (Supplemental

                              14   Application at p. 2.) This is an entirely new issue not previously addressed in the first or second

                              15   application and wholly unsupported by the deposition testimony of Mr. Judson. Further, an

                              16   award of the drastic remedies requested in the Supplemental Application with less than forty-

                              17   eight hours notice would violate Judson’s due process rights. Indeed, Allen Matkins’ eleventh

                              18   hour filing appears to be a deliberate attempt to deprive Judson of any reasonable opportunity to

                              19   respond to its blatant mischaracterizations of his testimony. This is improper and compels denial
                              20   of the relief requested in the Supplemental Application.

                              21          Moreover, Allen Matkins’ allegations are based on patent mischaracterizations of

                              22   Judson’s sworn testimony. Contrary to Allen Matkins’ allegations of wrong doing, Judson

                              23   testified: “All of the e-mails I have, they’re either printed out or they’re still on my account,

                              24   about to be printed out, the vast majority of which have already been printed out. And if they’ve

                              25   been printed out, then I delete them off the system.” (Ex. 3 to Pernicka Declaration at p 45:8-12.)

                              26   Judson further explained “It isn’t that Burlingame doesn’t have them. We have them. We just
                              27   have them in paper form rather than in electronic form.” (Id. at p.45:25-46:5.) “I want to be
                              28   clear, though: No e-mail is lost. Just because it’s not in electronic form doesn’t mean we don’t
                                                                                   -2-
                                    ROBERT D. JUDSON, JRS.’ PRELIMINARY OPPOSITION TO TRUSTEE’S SUPPLEMENTAL BRIEF RE
                                   APPLICATION FOR SECOND ORDER REQUIRING PRODUCTION OF DOCUMENTS AND APPEARANCE
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                               1   have it. We have it in paper form.” (Id. at 46:7-9.) Judson further explained “We’ve gone

                               2   through everything we’ve got, to make sure that we’re putting in storage everything that relates

                               3   to Burlingame. And we’re searching those others just to make sure. But I don’t -- I don’t

                               4   believe that there’s anything out there that is being missed. We’re being very diligent in making

                               5   sure that we’ve got everything there.” (Id. at p. 47:1-7.) Judson also testified “As part of the

                               6   printing, we print out the attachments so the entire e-mail is there and nothing’s lost, and once

                               7   we’ve done that, then we delete it.” (Id. at p. 69:20-23.) Judson testified the practice of printing

                               8   and deleting Debtor’s e-mails commenced 14-18 months ago, long before any communication

                               9   from Allen Matkins regarding preservation of electronically stored information. (Ex. 2 to
                              10   Pernicka Declaration.)

                              11          The foregoing testimony does not establish “intentional and willful destruction of
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                              12   evidence” as alleged by the Trustee. (Supplemental Application at p. 2.) Instead, the foregoing
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                              13   establishes a reasonable and good faith procedure Judson implemented to attempt to preserve all

                              14   of Debtor’s documents, including e-mails, in hard copy in a single location – the storage locker

                              15   in Florida. Indeed, all e-mails remain in either electronic or hard copy form. No documents

                              16   have been destroyed. Thus, there is no basis to award the drastic sanctions requested in the

                              17   Supplemental Application, including requiring the Judsons individually to incur the costs of the

                              18   Trustee’s investigation including production of voluminous documents and forensic analysis of

                              19   electronically stored information.
                              20          The Supplemental Application also requests information that is not within Debtors’

                              21   possession, custody or control such as e-mails from Judson’s e-mail address at KC Funding

                              22   (rjudson@kc4us.com). Judson is not the Debtor. The Debtor does not have any ownership,

                              23   possession or control over KC Funding or its e-mail accounts. As such, there is no basis for the

                              24   Trustee’s attempt to obtain documents from a third-party simply because the third-party is also

                              25   owned by Judson.

                              26          The Supplemental Application should be denied in its entirety. It raises issues not
                              27   previously briefed by the parties based on misrepresentations of Judson’s testimony. All
                              28   documents – including e-mails – remain in either hard copy or electronic form. There has not
                                                                                 -3-
                                    ROBERT D. JUDSON, JRS.’ PRELIMINARY OPPOSITION TO TRUSTEE’S SUPPLEMENTAL BRIEF RE
                                   APPLICATION FOR SECOND ORDER REQUIRING PRODUCTION OF DOCUMENTS AND APPEARANCE
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                               1   been any intentional, willful destruction of electronic evidence to avoid discovery obligations in

                               2   this case. Importantly, Judson began preserving and printing electronic copies of e-mails over a

                               3   year before Allen Matkins expressed any desire that this information be preserved. The

                               4   discussion of preservation of documents at the 341 meeting of creditors focused on the hard copy

                               5   documents in the storage locker. Judson reasonably believed his method of printing e-mails and

                               6   adding them to the documents already in the storage locker was reasonable, appropriate and

                               7   complied with the Trustee’s request that the documents be preserved. That electronic versions of

                               8   e-mails were deleted – the majority of which occurred before any obligation to preserve

                               9   documents arose – does not support the drastic remedy requested in the Supplemental
                              10   Application and does not support the allegations made by Allen Matkins. Therefore, the

                              11   Supplemental requests should be denied as procedurally and substantively unsubstantiated.
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                              12          Alternatively, at a minimum, the Court should delay further briefing or determination of
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                              13   the Supplemental Application until after the Disqualification Motion is determined by the Court.

                              14   Judson has not, and will not, delete any additional computer e-mails or computer records while

                              15   the Disqualification Motion is pending or without further order from the Court. Thus, there is no

                              16   harm in delaying determination of e-mail issue until after the disqualification issue is addressed.

                              17          On the other hand, failing to delay further briefing regarding the electronic discovery

                              18   issue will undermine the duties on which the Disqualification Motion is based. The

                              19   Disqualification Motion argues that Allen Matkins must be disqualified from its representation of
                              20   the Trustee based on its numerous, undisclosed conflicts of interest from its previous

                              21   representation of entities related to the Debtor – the Judsons individually, KC Funding and others

                              22   – which it now seeks to investigate. Indeed, the Supplemental Application bolsters the

                              23   Disqualification Motion. In addition to its prior breaches of duty, Allen Matkins now seeks to

                              24   obtain documents from its former client KC Funding in furtherance of its attempted investigation

                              25   of the exact transaction it was instrumental in structuring for KC Funding. This violates Allen

                              26   Matkins’ duties of confidentiality and loyalty to its former client KC Funding and compels
                              27   disqualification. Requiring continued briefing and discovery while the Disqualification Motion
                              28   is pending will facilitate Allen Matkins’ continuing breach of duties to its former clients. As
                                                                                   -4-
                                    ROBERT D. JUDSON, JRS.’ PRELIMINARY OPPOSITION TO TRUSTEE’S SUPPLEMENTAL BRIEF RE
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                                 1   such, consideration of the Supplemental Application should be deferred until the Disqualification

                                 2   Motion is determined.

                                 3

                                 4                                       III.    CONCLUSION

                                 5          Judson respectfully requests that this Court deny relief requested in the Trustee’s

                                 6   Supplemental Brief Re Application for Second Order Requiring Production of Documents and

                                 7   Appearance for Examination by Burlingame Capital Partners II, L.P. Alternatively, Judson

                                 8   requests this Court delay briefing and determination of the Supplemental Application until after

                                 9   the Motion to Disqualify is determined to avoid further breaches of duties to former clients and
                                10   to permit Judson to fully respond to the allegations in the Supplemental Application.

                                11
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                                     Dated: April 21, 2015                             GORDON & REES LLP
                                12
      San Diego, CA 92101
      Gordon & Rees LLP




                                13
                                                                                       By: /s/Jeffrey D. Cawdrey
                                14                                                            Jeffrey Cawdrey
                                                                                              Attorneys for Robert D. Judson, Jr.
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United States Bankruptcy Court - Southern District of California                    COURT USE ONLY

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SHORT CASE TITLE                                                              BANKRUPTCY NO. 14-02607-CL7
In re: Burlingame Capital Partners II, L.P., Debtor


                                     PROOF OF SERVICE
I, the undersigned, say: I am over 18 years of age, employed in the City & County of Denver,
Colorado, in which the within-mentioned service occurred; and that I am not a party to the
subject cause. My business address is 101 West Broadway, Suite 2000, San Diego, California
92101. On April 21, 2015, I served the following document(s):
ROBERT D. JUDSON, JRS.’ PRELIMINARY OPPOSITION TO TRUSTEE’S
SUPPLEMENTAL BRIEF RE APPLICATION FOR SECOND ORDER REQUIRING
PRODUCTION OF DOCUMENTS AND APPEARANCE FOR EXAMINATION BY
BURLINGAME CAPITAL PARTNERS II, L.P. By the following means:
( )   BY MAIL. I am familiar with this firm’s practice of collection and processing
      correspondence for mailing with the United States Postal Service, and that the
      correspondence shall be deposited with the United States Postal Service this same day in
      the ordinary course of business pursuant to Code of Civil Procedure §1013a. By placing a
      copy thereof in a separate envelope for each addressee named hereafter and addressed as
      follows:
( ) BY FAX. In addition to service by mail as set forth above, a copy of said document(s)
      were also delivered by facsimile transmission to the addressee pursuant to Code of Civil
      Procedure §1013(e).
( ) BY PERSONAL SERVICE. I caused said documents to be hand-delivered to the
      addressee pursuant to Code of Civil Procedure §1011.
( ) BY FEDERAL EXPRESS. I deposited said document(s) in a box or other facility
      regularly maintained by the express service carrier providing overnight delivery pursuant
      to Code of Civil Procedure §1013(c).
( X ) BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF"): I caused all of
      the pages of the above-entitled document(s) to be electronically filed and served on
      designated recipients through the Electronic Case Filing system for the above-entitled
      case. The file transmission was reported as successful and a copy of the Electronic Case
      Filing Receipt will be maintained with the original document(s) in our office.

       I declare under penalty of perjury under the laws of the State of California that the
 foregoing is true and correct.

        Executed on April 21, 2015
                                                                        /s/Jeanne Mydland-Evans
                                                                          Jeanne Mydland-Evans
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